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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


PLAISTOW PROJECT, LLC,

                Plaintiff,

        v.                                                Civil Action No.1:16-cv-11385

ACE PROPERTY & CASUALTY
INSURANCE COMPANY,

                Defendant.


                                   NOTICE OF REMOVAL

TO:     THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
        DISTRICT OF MASSACHUSETTS

        Pursuant to 28 U.S.C. §§ 1332 and 1441, Defendant, Ace Property & Casualty Insurance

Company (“Ace” or “Defendant”), removes this action to the United States District Court for the

District of Massachusetts. The grounds for removal are:

        1.      On or about May 24, 2016, Plaintiffs filed a Complaint (“Compl.”) in the Superior

Court of the Commonwealth of Massachusetts in and for Norfolk County, initiating an action

captioned Plaistow Project, LLC v. Ace Property & Casualty Insurance Company, Civil Action

No. 16-0677 (“the State Court Action”).

        2.      A true and correct copy of all process, pleadings, and orders served on Defendant

is attached hereto as Exhibit A.

        3.      Prior to service of the Summons and Complaint in the State Court Action, Ace

became aware of this Complaint on June 2, 2016. Accordingly, this Notice of Removal is timely

under 28 U.S.C. § 1446(b).



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                                      Diversity Jurisdiction

        4.      The matter in controversy is between citizens of different states:

                a. Plaintiff is a limited liability company organized under the laws of the

                   Commonwealth of Massachusetts. Based on records on file with the Secretary

                   of the Commonwealth of Massachusetts, its principal place of business is

                   Massachusetts.

                b. Defendant is a corporation organized under the laws of the Commonwealth of

                   Pennsylvania and has a principal place of business in Pennsylvania.

        5.      Based on the allegations of the complaint, the amount in controversy exceeds

$75,000.00 exclusive of interest and costs.

        6.      Removal of this action is proper under 28 U.S.C. § 1441(a) because it is a civil

action between citizens of different states in which the amount in controversy exceeds

$75,000.00 exclusive of interest and costs, and as such, this Court has original jurisdiction based

on diversity of citizenship pursuant to 28 U.S.C. § 1332(a)(1).

        7.      Accordingly, Ace hereby removes this action from the Superior Court of the

Commonwealth of Massachusetts to this Court, pursuant to 28 U.S.C. § 1332(a)(1) and §

1441(a).

                WHEREFORE, Defendant, ACE Property & Casualty Insurance Company,

provides notice that this action, initiated in the Superior Court of the Commonwealth of

Massachusetts, has been removed to the United States District Court for the District of

Massachusetts.




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July 1, 2016                                         Respectfully submitted,

                                                     ACE PROPERTY & CASUALTY
                                                     INSURANCE COMPANY,

                                                     By their attorneys,



                                                      /s/ Rachel J. Eisenhaure
                                                     David B. Chaffin (BBO # 549245)
                                                     chaffind@whiteandwilliams.com
                                                     Craig E. Stewart (BBO # 480440)
                                                     stewartc@whiteandwilliams.com
                                                     Rachel J. Eisenhaure (BBO # 663876)
                                                     eisenhaurer@whiteandwilliams.com
                                                     WHITE AND WILLIAMS LLP
                                                     101 Arch Street, Suite 1930
                                                     Boston, MA 02110
                                                     (617) 748-5200

                                CERTIFICATE OF SERVICE

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing and paper copies will be
sent to those indicated as non-registered participants, and that a true and correct copy has been
served by first class mail on counsel of record for Plaintiff, on this 1st day of July 2016.

                                                       /s/ Rachel J. Eisenhaure
                                                      Rachel J. Eisenhaure




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